Case 5:18-cv-00231-BJD-PRL Document 63 Filed 11/06/20 Page 1 of 4 PageID 301




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

ALFREDO ROCA-MORENO, III,

                       Plaintiff,

v.                                                              Case No. 5:18-cv-231-Oc-39PRL

FNU ROSSITER, et al.,

                  Defendants.
_______________________________

                                             ORDER

       Plaintiff moves the Court for an order compelling discovery (Doc. 60; Motion). Plaintiff

disputes Defendants’ responses to the following requests in his request for production: (1) records

of complaints by inmates or staff against Defendants, including disciplinary actions and uses of

force; (2) video footage of the incident; (3) the work shirt Defendant Mohs was wearing on the

day of the incident; (4) reports by the Office of the Inspector General (IG); and (5) documents of

any investigation into criminal charges against Plaintiff by the State Attorney’s office. See Motion

at 1-2. In response (Doc. 62; Def. Resp.), Defendants contend they have disclosed to Plaintiff video

footage and all responsive documents in their possession except individual “incident reports and

complaints or grievances written by any inmates against the Defendants.” See Def. Resp. at 3.

       Upon review, the Court finds Defendants have appropriately responded to Plaintiff’s

requests for video footage (all footage has been sent to Plaintiff for his review); Defendant Mohs’s

work shirt (Defendant no longer has it); reports by the IG’s office (responsive documents have

been disclosed); and records of criminal investigation by the State Attorney’s Office (Defendants

have no such documents in their possession). See id. at 4-5.
Case 5:18-cv-00231-BJD-PRL Document 63 Filed 11/06/20 Page 2 of 4 PageID 302




        As to Plaintiff’s request for records of disciplinary action, Defendants contend in their

response that a privilege or exemption applies, evidence of prior “bad acts” is inadmissible, and

the request is overly broad and unduly burdensome. See id. at 3. According to Defendants,

Plaintiff’s request for such documentation is overly broad (not limited to a particular time) and

unduly burdensome because it would require prison officials to manually search the file of every

inmate ever housed with Defendants. Id. at 3-4.

        As to the objections Defendants assert in their response to Plaintiff’s motion, they fail to

explain with any specificity how a privilege or exemption applies. Moreover, admissibility is not

the yardstick for discovery. Federal Rule of Civil Procedure 26(b)(1) permits parties to obtain

discovery relevant to the party’s claim or defense, regardless of whether the evidence would be

admissible at trial. See Fed. R. Civ. P. 26(b)(1). Significantly, Defendants do not indicate in their

response to Plaintiff’s motion that they raised these objections when responding to the request for

production. Rather, they responded to Plaintiff’s request as follows:

               A copy of personnel records responsive to this request is being
               provided for review to your classification officer. … You will have
               an opportunity to review the documents and if desired, you may
               submit a request for copies, at which point a cost will be determined.
               Upon payment of those costs, the requested copies will be provided.

Id. at 2.

        Because Defendants did not assert specific objections to Plaintiff’s request, they have

waived any such objections. See M.D. Fla. Civil Discovery Handbook § III.A.6 (“Absent

compelling circumstances, failure to assert an objection to a request for production within the time

allowed for responding constitutes a waiver and will preclude a party from asserting the objection

in response to a motion to compel.”). If Defendants asserted a general objection in their response

to Plaintiff’s request for production, such an objection is insufficient under the Rules of Civil



                                                  2
Case 5:18-cv-00231-BJD-PRL Document 63 Filed 11/06/20 Page 3 of 4 PageID 303




Procedure and as explained in the Middle District Civil Discovery Handbook. See Fed. R. Civ. P.

34(b)(C) (“An objection must state whether any responsive materials are being withheld on the

basis of that objection.”); M.D. Fla. Civil Discovery Handbook § III.A.6 (“Objections to requests

for production should be specific, not generalized, and should be in compliance with the provisions

of Rule 34(b).”).

       Additionally, as Defendants acknowledge in their response to Plaintiff’s motion, their

discovery response to Plaintiff was incomplete because their personnel records either did not

include complaints or disciplinary records against them, or such documentation was withheld. See

Def. Resp. at 3. Under the rules governing discovery, an incomplete disclosure constitutes a failure

to disclose. See Fed. R. Civ. P. 37(a)(4).

        Plaintiff’s request for prior disciplinary actions against Defendants is relevant given his

claims. He alleges Defendants used excessive force against him or failed to intervene during a use

of force. It is conceivable that, if disciplinary files exist documenting instances of excessive force

or a failure to intervene against Defendants, they may be relevant to Plaintiff’s claims. However,

the Court finds Plaintiff’s request, as stated, is overbroad in that he requests documents of all

“complaints” by inmates and staff against Defendants with no time-range specified. Accordingly,

the Court limits the scope of the request such that Defendants must produce all disciplinary reports

against them documenting excessive-use-of-force or failure-to-intervene incidents for the five-

year period preceding the date of the incident that is the subject of Plaintiff’s claims.1




       1
         If any responsive documents contain private or privileged information, Defendants may
redact the documents only to the extent necessary to protect any such information.
                                                  3
Case 5:18-cv-00231-BJD-PRL Document 63 Filed 11/06/20 Page 4 of 4 PageID 304




       Accordingly, it is now

       ORDERED:

       1.      Plaintiff’s Motion to Compel (Doc. 60) is GRANTED in part and DENIED in

part. The motion is granted to the extent the Court directs Defendants to produce all disciplinary

reports against them documenting excessive-use-of-force or failure-to-intervene incidents for the

five-year period preceding the date of the incident that is the subject of Plaintiff’s claims. In all

other respects, the motion is denied.

       2.      Defendants must produce any responsive documents to Plaintiff’s request, as stated

in paragraph 1 of this Order, by December 8, 2020.

       DONE AND ORDERED at Ocala, Florida, this 6th day of November 2020.




c:     Pro se Plaintiff
       Counsel of Record




                                                 4
